 Case 3:13-cv-02175-G-BH Document 105 Filed 10/11/13                                         Page 1 of 1 PageID 1597


                               IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

IMPALA AFRICAN SAFARIS, LLC, et al., §
                                     §
          Plaintiffs,                §
                                     §
v.                                   § Civil Action No. 3:13-CV-2175-G
                                     §
DALLAS SAFARI CLUB, INC., et al.,    §
                                     §
          Defendants.                §

                                                            ORDER

          Pursuant to the standing order of reference dated October 8, 2013, this case has been referred

for pretrial management. Before the Court is Defendant Michael Arthur Burke’s Special Appearance

and Motion to Vacate Default Judgment and to Dismiss Complaint for Lack of Personal Jurisdiction

and Brief in Support, filed October 10, 2013 (doc. 103).

          Respondent may file a response and brief containing citations to relevant authorities1 no later

than October 31, 2013. Movant may file a reply no later than November 14, 2013.

          At this time, no hearing will be scheduled on this matter.

          SO ORDERED on this 11th day of October, 2013.



                                                                        ___________________________________
                                                                        IRMA CARRILLO RAMIREZ
                                                                        UNITED STATES MAGISTRATE JUDGE




          1
           Local Rule 7.1 of the Local Civil Rules for the Northern District of Texas requires the filing of briefs in support of
most motions. Pursuant to subsection (d), briefs shall contain a “party’s contentions of fact and/or law, and arguments and
authorities.” (emphasis added). Briefs containing authorities greatly assist the Court in making rulings more expeditiously.
